Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.190 Page 1 of 12



                   UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN


VERNON OARD,

                   Plaintiff,
v                                                 Case No. 1:17-CV-1136
                                                  Hon. Paul L. Maloney

COUNTY OF MUSKEGON, and                           Magistrate Judge Phillip Green
14TH JUDICIAL CIRCUIT COURT,

               Defendants.
__________________________________________________________________

 PINSKY, SMITH, FAYETTE           ROSATI, SCHULTZ, JOPPICH, &
   & KENNEDY, LLP                 AMTSBUECHLER, P.C.
 By: Sarah Riley Howard (P58531)  By: Laura S. Amtsbuechler (P36972)
     Erin Dornbos (P80834)            Laura Bailey Brown (P79742)
 Attorneys for Plaintiff          Attorneys for Defendants
 146 Monroe Center Street, NW     27555 Executive Drive, Suite 250
 Suite 805                        Farmington Hills, MI 48331
 Grand Rapids, MI 49503-2818      (248) 489-4100/Fax: (248) 489-1726
 (616) 451-8496                   lamtsbuechler@jrsjlaw.com
 showard@psfklaw.com              lbrown@jrsjlaw.com
 edornbos@psfklaw.com
__________________________________________________________________

             DEFENDANTS’ RESPONSE IN OPPOSITION TO
                 PLAINTIFF’S MOTION TO COMPEL

      Defendants County of Muskegon and the 14th Judicial Circuit Court, by and

through their attorneys, Rosati, Schultz, Joppich & Amtsbuechler, P.C., respond to

Plaintiff’s Motion to Compel as follows:
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.191 Page 2 of 12



                                INTRODUCTION

      Despite Plaintiff’s contentions, the vast majority of the information Plaintiff

requested in discovery has already been produced. Defendants have fully engaged

in the discovery process and have served and responded to discovery as permitted

and required under the Federal Rules. Defendants have diligently searched for

documents responsive to appropriate requests and have produced nearly two-

thousand pages of responsive, non-privileged documents and an index specifically

identifying the documents to Plaintiff. Defendants have further voluntarily, and at

points without request, provided supplemental responses to Plaintiff’s discovery

requests in accordance with Rule 26.

      Defendants have served appropriate objections to requests that are

exceptionally overbroad and disproportionate to the needs of this case. They have

also served appropriate objections to Plaintiff’s demands for privileged information.

Defendants have actively engaged in discovery and have made extensive efforts to

move forward in the process in good faith and in the spirit of cooperation, including

agreeing to and coordinating the scheduling of depositions of all 14 of the witnesses

Plaintiff requested (notably, in excess of the 10 allotted under the Federal Rules).

      An examination of the circumstances surrounding the motion demonstrates

that the motion and the relief sought are unwarranted and unnecessary. For the

reasons that follow, Plaintiff’s motion should be denied.


                                          2
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.192 Page 3 of 12



                           FACTUAL BACKGROUND

      Plaintiff Vernon Oard is a former employee of Muskegon County who served

as the Youth Services Director of the County’s Juvenile Transition Center (“JTC”).

Plaintiff position was eliminated in 2016 when the JTC was transferred from being

a County-operated facility to a Court-operated facility. As evidenced by the written

discovery that has been exchanged thus far, the decision to eliminate Plaintiff’s

position was made by the County Administrator and the County Board of

Commissioners due to budgetary reasons and operational efficiency issues.

      Once the JTC transitioned to being administered by the Court, a new position

to lead the facility was created: Clinical Director/Superintendent. Unlike Plaintiff’s

former position with the County-operated JTC, this new position included different

responsibilities and goals, and was compensated at a significantly lower rate than

the eliminated Youth Services Director position. It was truly a new job that focused

on a youth programming centered philosophy that had not been previously

implemented by Plaintiff during his tenure with the JTC. Lindsay Nelson, who was

serving as the Program Coordinator with the JTC and whose job centered on youth-

programming, was selected to fill the newly-created position on an interim basis.

      The Clinical Director/Superintendent job immediately was posted, and six

applicants were selected for interviews, including Plaintiff and Lindsay Nelson. The

interviews took place in two separate rounds with two different panels of


                                          3
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.193 Page 4 of 12



interviewers. The first round of interviews was conducted by seven panelists, both

male and female, including a Family Court Judge, the Deputy Circuit Court

Administrator, the Director of School at the JTC, a probation officer, a representative

of MDHHS, a staff member from the JTC, and a supervisor from probation. The

scores were tabulated, and the top four candidates were chosen to move forward to

the second panel interview. Plaintiff was third on the rank list and advanced to the

second round of interviews.

      The scores from the first round did not carry over to the second round. The

second round of interviews of the four candidates was done by a new panel of

interviewers, which included the Presiding Judge of Family Court, the Deputy

Circuit Court Administrator, the Director of HealthWest, and a Director at the

Michigan Department of Health and Human Services. When the interviews were

complete, Lindsay Nelson was the unanimous first choice of all who participated in

the second round of interviews, and she was hired. Plaintiff, on the other hand, was

ranked by each of the various panel members as either third or fourth on the rank

list. These panelists were the only individuals who participated in the interviews

and who had any input into the decision to hire Lindsay Nelson for the permanent

Superintendent position.

      Despite the overwhelming evidence to the contrary, Plaintiff now claims that

Eric Stevens, the former Circuit Court Administrator, was somehow involved in the


                                          4
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.194 Page 5 of 12



post-transition hiring decisions relating to Lindsay Nelson.         Plaintiff further

improperly seeks information relating to the private, romantic relationships that Mr.

Stevens may or may not have had with Ms. Nelson and other County employees.

But Plaintiff’s requests for information about the personal lives of various County

employees are wholly irrelevant to Plaintiff’s age and gender discrimination

allegations, are sought solely for the purposes of conflating the issues in this matter

and driving up the costs of what is proving to be an unnecessarily expensive

discovery process, far exceed what is proportional in the context of this litigation,

and are otherwise privileged.

                                   ARGUMENT

      Federal Rule of Civil Procedure 26(b)(1) provides that “[p]arties may obtain

discovery regarding any nonprivileged matter that is relevant to any party’s claim or

defense and proportional to the needs of the case. . . .” Thus, to be discoverable, a

request must be three things: (1) nonprivileged, (2) relevant, and (3) proportional to

the needs of the case. The proportionality analysis provides that Courts should

consider importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit. Fed. R. Civ. P.

26(b)(1). “In determining the proper scope of discovery, a district court balances a


                                          5
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.195 Page 6 of 12



party’s right to discovery with the need to prevent fishing expeditions.” Marsden v.

Nationwide Biweekly Admin., Inc., 2016 WL 471364 (S.D. Ohio 2016) (citing Conti

v. Am. Axle & Mfg. Inc., 326 App’x 900, 907 (6th Cir. 2009)).

I.    Plaintiff’s Requests for Information About the Private, Romantic
      Relationships Between County Employees Are Irrelevant and
      Disproportionate to the Needs of the Case.

      Plaintiff’s motion relates to discovery on one issue: former employee Eric

Stevens personal and private romantic relationships. This single issue is raised in

the three separate document requests made by Plaintiff that are the subject of this

motion: Request Nos. 7, 9, and 20. Request No. 7 seeks “all communications and

documents relating in any way to any investigation by Defendants regarding Mr.

Eric Stevens.” Similarly, Request No. 9 seeks “all communications and documents

relating in any way to any investigation by Defendants regarding Ms. Lindsay

Nelson,” who Plaintiff has incorrectly alleged was involved in a romantic

relationship with Mr. Stevens in 2016.         Finally, Request No. 20 seeks “all

communications and documents which tend to support or refute a conclusion that

Eric Stevens engaged in a sexual and/or otherwise romantic relationship with any

employees or other agents of Defendants.”

      As an initial matter and as Plaintiff admits in his motion, the heart of his claim

is that “his lay-off and lack of rehiring was unlawfully influenced by the romantic

preference of Mr. Stevens.” Although Defendants in no way agree with this


                                          6
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.196 Page 7 of 12



contention, particularly as the discovery to-date does not support the allegation, the

law on this matter could not be clearer: preferential treatment to an individual on

the basis of a sexual relationship to another’s detriment does not constitute

discrimination under Title VII. See, e.g., Briggs v. University of Detroit-Mercy, 22

F. Supp. 3d 798 (E.D. Mich. 2014) (granting summary judgment to defendants on

the basis that preferential treatment to a paramour is not gender-based

discrimination); McDaniels v. Plymouth-Canton Comm. Schools, 2017 WL 4682293

(E.D. Mich. 2017) (granting summary judgment to defendants on the basis that

preferential treatment in hiring based on romantic relationship is not discrimination).

      Thus, the fact that Eric Stevens may or may not have had a romantic

relationship with his former colleagues is completely irrelevant to the claims in this

action. Plaintiff therefore fails to establish an entitlement to discovery on these

issues under Rule 26(b)(1), and his efforts to obtain such discovery amount to

nothing more than an inappropriate and unsupportable fishing expedition.

      Not only is discovery on these issues wholly irrelevant, the requests fail the

proportionality analysis under Rule 26(b)(1).       As described above, documents

relating to Mr. Stevens’s purported romantic relationships are completely

unnecessary to advance Plaintiff’s claims. Thus, discovery on this topic is not

important to the issues at stake in this litigation, nor will it assist in resolving the

issues. Consequently, at least two of the factors under the proportionality analysis


                                           7
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.197 Page 8 of 12



weigh in favor of denial of Plaintiff’s motion.

      Although Requests 7, 9, and 20 all share a common theme and the arguments

above apply equally to each of those requests, each of the requests is also

objectionable for the additional reasons addressed separately below.

      A.     Request No. 7

      In response to Request No. 7, which seeks “all communications and

documents relating in any way to any investigation by Defendants regarding Mr.

Eric Stevens,” Defendants provided the following answer:

             Defendants object that this request is overbroad, unduly
             burdensome, vague, ambiguous, and that it seeks information
             that is not proportional to the needs of the case. Defendants also
             object to this request as it seeks personal information regarding
             individuals who are not parties to this action. Defendants further
             object to this request to the extent it calls for information and
             documents that may be protected by the attorney-client privilege
             or attorney work product doctrine.

             Subject to and without waiving the foregoing objections,
             Defendants direct Plaintiff to the non-privileged, responsive
             documents produced herewith, along with the Bates-Stamped
             Document Index identifying certain responsive documents.

See Doc. 23-6, PageID 168.

      As acknowledged by Plaintiff’s counsel in the motion, responsive, non-

privileged documents were produced in response to this request.              Despite

Defendants’ explanation that all non-privileged, responsive documents of which

Defendants were currently aware had been produced, Plaintiff insists that there are


                                          8
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.198 Page 9 of 12



certain documents out there that have not been produced. See Doc. #23, PageID

102. Plaintiff further offers baseless conjecture that certain documents must exist

relating to an internal investigation about Eric Stevens because “it does not make

sense that there would be no documents. . . ,” and because various unnamed sources

apparently are of the belief that there were text messages and/or emails that were a

part of the investigation. Id. However, Plaintiff has yet to identify specifically which

documents are lacking. As previously stated, Defendants have diligently searched

for documents responsive to appropriate requests and have, without waiving their

objections, produced responsive, non-privileged records of which they are currently

aware. To the extent any documents were withheld, they were identified on a

privilege log. See Doc. 23-7.

      B.     Request No. 9

      In response to Request No. 9, which sought “all communications and

documents relating in any way to any investigation by Defendants regarding Lindsay

Nelson,” Defendants objected:

             Defendants object that this request is overbroad, vague, and
             ambiguous, particularly with respect to the phrase “relating in
             any way to any investigation by Defendants regarding Ms.
             Lindsay Nelson.” Defendants further object that this request
             seeks private or otherwise confidential information of
             individuals who are not parties to this action on issues that are
             not relevant, and that this request is not proportional to the needs
             of the case.

See Doc. 23-6, PageID 168.

                                           9
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.199 Page 10 of 12



      Although Request No. 9 seeks information to which Defendants believe

Plaintiff is not entitled for the reasons included in the objection and outlined above,

Defendants explained to Plaintiff’s counsel both in conversation and in writing that

there are no documents responsive to the request as it is Defendants’ understanding

that there was no investigation into Lindsay Nelson. See Ex. 1, August 30 Email

Exchange. Defendants agreed to supplement their discovery responses to clarify

their response to this request and will do so.

      C.     Request No. 20

      In response to Request No. 20, which requested “all communications and

documents which tend to support or refute a conclusion that Eric Stevens engaged

in a sexual and/or otherwise romantic relationship with any employees or other

agents of Defendants,” Defendants provided the following answer:

             Defendants object that this request seeks private or otherwise
             confidential information of individuals who are not parties to this
             action on issues that are not relevant, and that this request is not
             proportional to the needs of the case. Defendants further object
             that this request seeks information or documents that may be
             protected by the attorney-client privilege or attorney work
             product doctrine.

See Doc. No. 23-6, PageID 173.

      This request is, on its face, completely overbroad and consequently

disproportionate to the needs to the case. Specifically, Plaintiff seeks information

not only about a former employee’s potential relationships with unidentified


                                          10
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.200 Page 11 of 12



individuals who have no clear connection to the matters at issues in this case, but

more broadly that may or may not tend to support or refute these unknown

relationships.

      Much like the position set forth above with respect to allegations of an affair

with Ms. Nelson, the argument that Mr. Stevens’ purported relationships with

employees other than Lindsay Nelson are somehow related to his gender and age

discrimination claim relating to the Court’s decision to hire her for the permanent

Superintendent position is completely untenable, and it is difficult to see how there

is any way that these records could be discoverable.             Furthermore, from a

proportionality standpoint, the request is so incredibly broad that an effective search

for those records would require extensive attorney time and potentially an

information technology expert to develop a way to effectively search for those

records. In the context of the issues in this litigation, the search for and production

of potentially responsive communications is simply not important to Plaintiff’s

claims, will not resolve the issues, and the burden and expense far outweighs its

likely benefit. Plaintiff’s motion should therefore be denied.

                                  CONCLUSION

      WHEREFORE, for the reasons stated above, Defendants respectfully request

that this Honorable Court deny Plaintiff’s Motion to Compel.




                                          11
Case 1:17-cv-01136-PLM-PJG ECF No. 31 filed 09/21/18 PageID.201 Page 12 of 12



                                       Respectfully submitted,

                                       ROSATI  SCHULTZ            JOPPICH   &
                                       AMTSBUECHLER, P.C.


                                       /s/ Laura Bailey Brown
                                       Laura Bailey Brown
                                       Attorney for Defendants
                                       27555 Executive Drive, Suite 250
                                       Farmington Hills, MI 48331-3554
                                       (248) 489-4100
                                       lbrown@jrsjlaw.com
Dated: September 21, 2018              (P79742)




             PROOF OF SERVICE

The undersigned certifies that the foregoing
was served upon all parties to the above cause
to each of the attorneys/parties of record
herein at their respective addresses disclosed
on the pleadings on September 21, 2018.

BY:        U.S. Mail         Telefacsimile
           Hand Delivered    Overnight
                             courier
           Federal Express   Other: E-filing

Signature:


      /s      Laura Bailey Brown




                                         12
